Case 3:09-cv-05191-CRB   Document 119-10   Filed 01/14/11   Page 1 of 3




                 EX9 61BIT J
                      Case 3:09-cv-05191-CRB             Document 119-10        Filed 01/14/11     Page 2 of 3


                                                                                                  2001 Center Street, Fourth Floor
                                                                                                       Berkeley, CA 94704-1204
                                                                                                          Phone (510) 665-8644
                                                                                                             Fax (510) 665-8511
                                                                                                              TTY (510) 665-8716
DISABILITY RIGHTS ADVOCATES                                                                                    www.dralegal.org
                         A non-profit corporation

 BOARD OF DIRECTORS
  William F. Alderman
                                                                                           Via Email and U.S. Mail
  Orrick, Herrington & Sutcliffe LLP
  Leslie Aoyama
  Nordstrom Inc.
  Mark A. Chavez
                                          Gregory Tenhoff
  Chavez & Gertler LLP                    Wendy Brenner
  Linda Dardarian
  Goldstein, Demchak, Bailer,
  Bergen & Daeiarian
                                          Cooley Godward Kronish, LLP
  Benjamin Foss
  Intel Corporation
                                          Five Palo Alto Square
  Lucy Lee Helm                           3000 El Camino Real
  Starbucks Coffee Company
  Pat Kirkpatrick                         Palo Alto, CA 94306-2155
  Fundraising Consultant
  Joshua Konecky
  Schneider Wallace Cottrell
  Brayton Konecky LLP                     December 21, 2010
  Janice L. Lehrer-Stein
  Consultant
  Bonnie Lewkowicz
  Access Northam California                     Re:    Enyart v. National Conference of Bar Examiners
  Jessica Lorenz
  Independent Living Resource Center
                                                        Potential Injunction for February 2011 Bar Exam
  San Francisco
  Laurence Paradis
  Disability Rights Advocates
  Eugene Alfred Pinover
                                          Dear Ms. Brenner and Mr. Tenhoff,
  Willkie Farr & Gallagher LtP
  Cristina Rubke
  Shartsis Ffiese LLP
  Michael P. Stanley
                                                 Thank you for your letter dated December 20, 2010, responding
  Legal Consultant                        to Ms. Enyart's requested modification to the second preliminary
 ATTORNEYS AND FELLOWS
  Laurence Paradis                        injunction order.
  Executive Director
  Sid Wolinsky
  Litigation Director
  Melissa Kasnitz
                                                  Unfortunately, what NCBE proposes in the December 20, 2010
  Managing Attorney
  Kevin Knestrick
                                          letter does not guarantee that testing of the accommodations prior to
  Supervising Staff Attorney
  Mary-Lee Kimber Smith
                                          the examination will have any meaning. The order must provide not only
  Staff Attorney
  Anna Levine
                                          the opportunity to identify problems, but a meaningful opportunity to fix
  Staff Attorney
  Ronald Elsberry
                                          problems that may occur. What NCBE proposes cannot do so if the
  Staff Attorney                          problem is of a nature that cannot be fixed on site without administrative
  Julia Pinover
  Staff Attorney                          privileges. For NCBE to provide both opportunities, someone must be
  Karla Gilbride
  Staff Attorney                          available who has administrative privileges, at the very least in the
  Becca Von Behren
  Staff Attorney                          event that a problem is identified on February 17, 2011.
  Rebecca Williford
  LO Access /Ryder Foundation Fellow
  Elizabeth Leonard
  Penn Law Public Interest Fellow                Therefore, a solution—and the preliminary injunction order—
  Kara Werner
  John W. Carson / LC Access Fellow       must include the opportunity for someone with administrative privileges
 ADVISORY BOARD
  Joseph Cotchett
                                          to address any problem that requires such privileges. This can be done
  Cotchalt, Pitre & McCarthy              either by having such a person on site or with remote access.
  Hon. Joseph Grodin
  Retired Justice, Calif. Supreme Court
  Kathleen Hallberg
  Ziffren, Bfittenham & Branca                    The prior administrations demonstrate that without administrative
  Karen Kaplowitz
  New Ellis Group
                                          privileges the universe of what can be fixed on site is severely bounded.
  Hon. Charles Renfrew
  Retired, United States District Judge
                                          At the test administration in February 2010, Stephanie was told that
  Margaret R. Roisman                     NCBE did not have the ability to fix a problem with the MS Word font,
  Roisman Renal LLP
  Guy T. Saperstein                       because the program settings had been locked and no one was
  Todd Schneider
  Schneider Wallace Cottrell
  Brayton Konecky LLP
  Fernando M. Torres-Gil, Ph.D.
  University of Calif. Los Angeles
  Gerald Uelmen
  Santa Clam University School of Law
Case 3:09-cv-05191-CRB          Document 119-10        Filed 01/14/11      Page 3 of 3
December 21, 2010
Page 2
available with the capacity to change them. At the test administrations in July and
August 2010, NCBE did not have the ability to fix a problem with the screen reading
software that it had loaded on the computer. Again, no one was available with the
capacity to make suggested changes, such as removing an expired anti-virus program,
that technical support told Stephanie might fix the problem.
        We further wish to get clarity on one of the terms in your letter. We requested that
NCBE make its laptop available on Thursday, February 17, 2011 for inspection by
Stephanie and a technical person of Stephanie's choice to make certain that the
software is loaded in such a way that it works. Your response states that "NCBE will
make the NCBE-provided laptop available to Ms. Enyart for inspection and set-up on
February 17, 2011, and provide her with access again on February 21, 2011." We want
to clarify that at the inspection on February 17, 2011, Stephanie may be allowed to bring
with her a person with assistive technology expertise, to help identify and, if necessary,
fix any problems that arise with the software or hardware. If a problem is identified on
February 17 that cannot be resolved on that date, NCBE should communicate with
Stephanie between February 17 and February 21 if the identified problem has been
fixed during that interval, or if NCBE has determined that the problem will not be fixed
by February 21. If NCBE has determined that the problem will not be fixed by February
21, 2011, Stephanie should have access to the same person with assistive technology
expertise on February 21, to help try to fix the problem on that date.
      We look forward to your response. We expect to be able to provide the court by
December 22, 2010 with a reply regarding the terms to which the parties have agreed,
and terms, if any, requiring a further motion, and thus precluding a stay of proceedings.
Sincerely,


Anna Levine
